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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANYDIVISION

TONYA JONES,

     Plaintiff,                                    Case No. 4:17-cv-00234-RLY-DML

v.

ENHANCED RECOVERY COMPANY, LLC,

     Defendant.

                                                ORDER

          This cause coming before the Court on the Stipulation of Dismissal and the Court being

 fully advised of the premises and having jurisdiction of the subject matter, IT IS HEREBY

 ORDERED:

      1. The above captioned case is dismissed with prejudice.

      2. Each party shall bear its own costs and attorney fees.



 Dated:       10/29/2021
                                                              United States District Judge




Distributed Electronically to Registered Counsel of Record
